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 1 PHILLIP A. TALBERT
   United States Attorney
 2 AMY S. HITCHCOCK
   MATTHEW G. MORRIS
 3 Assistant United States Attorneys
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6
   Attorneys for Plaintiff
 7 United States of America

 8

 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                          CASE NO. 2:13-CR-274-GEB
12
                                  Plaintiff,            STIPULATION REGARDING EXCLUDABLE
13                                                      TIME PERIODS UNDER SPEEDY TRIAL ACT;
                            v.                          [PROPOSED] FINDINGS AND ORDER
14
     GARIK VOSKANYAN,                                   DATE: January 20, 2017
15                                                      TIME: 9:00 a.m.
                                 Defendant.             COURT: Hon. Garland E. Burrell, Jr.
16

17
                                                 STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
19
     through defendant’s counsel of record, hereby stipulate as follows:
20
            1.      By previous order, this matter was set for status on January 20, 2017.
21
            2.      By this stipulation, defendant now moves to:
22
                    a)     Vacate the status hearing scheduled for January 20, 2017;
23
                    b)     Schedule a trial confirmation hearing at 9:00 a.m. on May 12, 2017;
24
                    c)     Order the defendant, defense counsel and at least one prosecutor to appear at the
25
            trial confirmation hearing consistent with Local Rule 450;
26
                    d)     Schedule a jury trial to commence at 9:00 a.m. on June 20, 2017, which the
27
            parties estimate will take approximately one court week (Tuesday through Thursday); and
28
                    e)     Exclude time between January 20, 2017, and June 20, 2017, under the Speedy

      STIPULATION REGARDING EXCLUDABLE TIME              1
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1          Trial Act, Local Code T4.

 2          3.      The parties agree and stipulate, and request that the Court find the following:

 3                  a)      The government has represented that the discovery associated with this case

 4          includes approximately 145 pages of paper discovery, which has been produced directly to

 5          counsel and/or made available for inspection and copying.

 6                  b)      The government has disclosed to counsel the existence of additional records

 7          related to confidential source reporting, but has not produced those materials to counsel.

 8                  c)      Counsel for defendant desires additional time review the discovery and prepare

 9          the defendant for trial.

10                  d)      Counsel for defendant believes that failure to grant the above-requested

11          continuance would deny him/her the reasonable time necessary for effective preparation, taking

12          into account the exercise of due diligence.

13                  e)      The government does not object to the continuance.

14                  f)      Based on the above-stated findings, the ends of justice served by continuing the

15          case as requested outweigh the interest of the public and the defendant in a trial within the

16          original date prescribed by the Speedy Trial Act.

17                  g)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

18          et seq., within which trial must commence, the time period of January 20, 2017 to June 20, 2017,

19          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

20          because it results from a continuance granted by the Court at defendant’s request on the basis of

21          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

22          of the public and the defendant in a speedy trial.

23          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

24 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

25 must commence.

26 ///
27 ///

28 ///

      STIPULATION REGARDING EXCLUDABLE TIME               2
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1         IT IS SO STIPULATED.

 2

 3
     Dated: January 19, 2017                         PHILLIP A. TALBERT
 4                                                   United States Attorney
 5
                                                     /s/ MATTHEW G. MORRIS
 6                                                   AMY S. HITCHCOCK
                                                     MATTHEW G. MORRIS
 7                                                   Assistant United States Attorney
 8

 9 Dated: January 19, 2017                           /s/ GEORGE MGDESYAN
                                                     (auth by email from Anna
10                                                   Osipov on 1/19/17)
                                                     GEORGE MGDESYAN
11
                                                     Counsel for Defendant
12                                                   GARIK VOSKANYAN

13

14

15
                                         FINDINGS AND ORDER
16
           IT IS SO FOUND AND ORDERED.
17
           Dated: January 19, 2017
18

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      STIPULATION REGARDING EXCLUDABLE TIME      3
30    PERIODS UNDER SPEEDY TRIAL ACT
